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                                          No. 23-1078

                      In the United States Court of Appeals
                              for the Fourth Circuit
               B.P.J., by her next friend and mother; HEATHER JACKSON,
                                                          Plaintiffs-Appellants,
                                                v.
            WEST VIRGINIA STATE BOARD OF EDUCATION; HARRISON COUNTY
          BOARD OF EDUCATION; WEST VIRGINIA SECONDARY SCHOOL ACTIVITIES
              COMMISSION; W. CLAYTON BURCH, in his official capacity as
            State Superintendent; DORA STUTLER, in her official capacity as
                          Harrison County Superintendent,
                                                          Defendants-Appellees,
                                               and
                      THE STATE OF WEST VIRGINIA; LAINEY ARMISTEAD,
                                                           Intervenors-Appellees.

                      On Appeal from the United States District Court for the
                       Southern District of West Virginia, No. 2:21-cv-00316
                            The Honorable Joseph R. Goodwin, Judge

          BRIEF OF AMICUS CURIAE INDEPENDENT WOMEN’S LAW
           CENTER SUPPORTING APPELLEES AND AFFIRMANCE

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        May 3, 2023
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             INTRODUCTION AND INTEREST OF AMICUS CURIAE1

              Appellants’ proposed interpretation of Title IX and the Equal

        Protection clause poses an existential threat to female athletics, the

        prospect of which is of significant concern to amicus Independent

        Women’s Law Center (IWLC). IWLC is deeply concerned that, if courts

        and agencies adopt a “but-for” test for discrimination under Title IX and

        its athletic regulations, they will establish a regime that not only

        discriminates against females in contravention of the plain text and

        purposes of that statute but, ultimately, threatens the very existence of

        single-sex sports.

              Indeed, allowing even a single male to compete in women’s sports

        can take numerous opportunities from women and girls—not only

        opportunities to win, but also opportunities for roster spots, playing time,

        leadership roles, and scholarships. This is not fair. It is discriminatory.




           1 No counsel for a party authored this brief in whole or in part, and no

        person other than amicus, its members, or its counsel made a monetary
        contribution intended to fund the brief’s preparation or submission. All
        parties except for Defendant-Appellee the West Virginia Secondary
        School Activities Commission consented to the filing of this brief, which
        is accompanied by a motion for leave to file.
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        And it violates the very statute that Appellants argue requires such a

        result.

              It also contravenes the mission of IWLC, which is a project of

        Independent Women’s Forum (IWF), a nonprofit, non-partisan 501(c)(3)

        organization founded by women to foster education and debate about

        legal, social, and economic policy issues. IWF promotes access to free

        markets and the marketplace of ideas and supports policies that expand

        liberty, encourage personal responsibility, and limit the reach of

        government, especially on matters of particular concern to women. IWLC

        supports this mission by advocating for equal opportunity, individual

        liberty, and women’s sex-based rights.

              IWLC writes to describe the public interest in single-sex sports, to

        detail the harms caused by this Court’s injunction against West Virginia

        Code § 18-2-25d(c)(1) (“Sports Act”), and to explain how reversal would

        undermine the legal rationale for any single-sex athletic teams.




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                             SUMMARY OF ARGUMENT

              In Bostock v. Clayton County, 140 S. Ct. 1731 (2020), the Supreme

        Court held that Title VII of the Civil Rights Act of 1964, 42 U.S.C.

        § 2000e-2(a)(1), prohibits an employer from “fir[ing] someone simply for

        being . . . transgender.” Id. at 1737. That is the case, the Court held,

        because “[a]n employer who fires an individual for being . . . transgender

        fires that person for traits or actions it would not have questioned in

        members of a different sex” and thus violates Title VII’s prohibition on

        sex discrimination in employment. Id. at 1737.2

              In this case, the Court is confronted by a question nowhere

        presented—much less resolved—in Bostock: Does the prohibition of

        discrimination “on the basis of sex” in Title IX and its athletic regulations

        ban educational institutions from separating teams by biological sex and

        from forbidding male-bodied athletes from competing on teams

        designated for women or girls? For the reasons explained below and by



           2 This  brief uses the term “sex” to refer to one’s biological sex
        recognized at birth. It uses the term “woman” to mean an adult human
        female, and the term “female” to mean the biological sex that produces
        ova or eggs. It uses the phrase “male-bodied athlete” to clarify the sex of
        a biological male (trans-identified or not) who is competing (or seeking to
        compete) on a women’s team.
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        Appellees, the district court correctly concluded that neither the Equal

        Protection Clause nor Title IX bans single-sex teams or requires schools

        to allow male-bodied athletes to compete on female teams.

              There is no question that allowing a male-bodied athlete to take a

        roster spot from a female harms the female athlete. Even on no-cut

        teams, female athletes lose out when coaching resources and playing time

        that would otherwise be devoted to them are directed toward males.

        Thus, a decision prohibiting institutions from taking biological sex into

        account when structuring athletic programs reduces numerous athletic

        opportunities for biological women and girls. In the long run, moreover,

        such a decision undermines the legal justification for maintaining any

        sex-specific athletic teams, threatening the very existence of women’s

        sports.

              This Court should affirm the decision below, which allowed West

        Virginia to ensure that equal opportunities are provided to female

        athletes.




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                                      ARGUMENT

        I.    Title IX Was Enacted To Increase Opportunities For Women
              and Girls, Not To Reduce Them.

             More than fifty years ago, Congress enacted the landmark sex

        equality law Title IX. Part of the Education Amendments of 1972, Title

        IX bans sex discrimination in all federally funded education programs. It

        states:

             No person in the United States shall, on the basis of sex, be
             excluded from participation in, be denied the benefits of, or be
             subjected to discrimination under any education program or
             activity receiving Federal financial assistance.

        20 U.S.C. § 1681(a). Congress passed Title IX to end unjust sex

        discrimination in education and to expand educational opportunities for

        women and girls. See Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274,

        286 (1989) (one of Title IX’s principal objectives was “[t]o avoid the use of

        federal resources to support discriminatory practices”); McCormick ex.

        rel. McCormick v. Sch. Dist. of Mamaroneck, 370 F.3d 275, 286, 295 (2d

        Cir. 2004) (“Title IX was enacted in response to evidence of pervasive

        discrimination     against    women       with      respect    to    educational

        opportunities”). But Congress did not pass this landmark protection to

        force females to compete for resources and playing time against male-


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        bodied athletes, trans-identified or not, who have inherent physical

        advantages and have long had abundant athletic opportunities.

              A.   Title IX Remedies the Historical Denial of
                   Opportunities for Biological Women and Girls in
                   Sports.

            There is no question that “girls and women were historically denied

        opportunities for athletic competition based on stereotypical views that

        participating in highly competitive sports was not ‘feminine’ or

        ‘ladylike.’” Id. at 295; see also Doriane Lambelet Coleman, Sex in Sport,

        80 Law & Contemp. Probls. 63, 84 (2017) (“In the beginning, females were

        classified out of sport—that is, they were excluded entirely because of

        sex.”) [hereinafter “Sex in Sport”]. Accordingly, although Title IX

        originally made no mention of athletics, Congress in 1974 passed an

        amendment directing the Department of Health, Education, and Welfare

        to issue regulations implementing Title IX in “intercollegiate athletic

        activities.” Education Amendments of 1974, Pub. L. No. 93-380, § 844, 88

        Stat. 484, 612. Those regulations generally provide that “[n]o person

        shall, on the basis of sex, be excluded from participation in, be denied the

        benefits of, be treated differently from another person or otherwise be




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        discriminated against in any interscholastic, intercollegiate, club or

        intramural athletics.” 34 C.F.R. § 106.41(a).

            The regulations then go on to expressly permit single-sex teams. For

        non-contact sports, institutions “may operate or sponsor separate teams

        for members of each sex where selection for such teams is based upon

        competitive skill.” Id. § 106.41(b); see also O’Connor v. Bd. of Educ. of

        Sch. Dist. 23, 449 U.S. 1301, 1307–08 & n.5 (1980) (Stevens, J., in

        chambers) (refusing to vacate a stay that prohibited female student from

        trying out for boys’ basketball team where school also had a girls’ team).

        For contact sports, sex-based exclusions are permitted even where the

        school does not offer a team for the excluded sex. 34 C.F.R. § 106.41(b).

            Whatever choices an educational institution makes, the regulations

        require it “to provide equal athletic opportunity for members of both

        sexes.” Id. § 106.41(c). That requirement is not limited solely to the

        opportunity to play. See id. (citing factors Department of Education will

        consider in evaluating program). As the Second Circuit has recognized,

        because “[a] primary purpose of competitive athletics is to strive to be the

        best,” Title IX requires that schools provide girls with the same “chance

        to be champions” they provide boys. McCormick, 370 F.3d at 294–95.


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                B.   Single-Sex Teams Are Critical to Providing Biological
                     Girls and Women Opportunity in Sports.

               The premise behind sex-specific sports is the simple scientific reality

        that, on average, males are stronger, faster, and more powerful than

        females. See Indep. Women’s Forum & Indep. Women’s Law Ctr.,

        Competition: Title IX, Male-Bodied Athletes, and the Threat to Women’s

        Sports 17–18 (2021) (providing detailed overview of the scientific

        literature on the significant and enduring nature of the male-female

        athletic        gap)    [hereinafter       Competition],        available      at

        https://www.iwf.org/competition-report/.3 In fact, research confirms that,

        overall, “[t]here is [a] 10 to 12% difference between male and female

        athletic performance.”4 Studies also make clear that testosterone




           3 The male-female athletic differential is not the result of human
        variation between top athletes and non-athletes. Nor is it the result of
        socialization, unequal opportunity, or lack of funding. Rather, the male-
        female athletic gap is almost entirely the result of biology. See
        Competition at 17.
           4 Tim Layden, Is it fair for Caster Semenya to compete against women

        at the Rio Olympics?, Sports                Illustrated    (Aug.     11,    2016),
        https://tinyurl.com/jh5mazht.
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        suppression cannot completely eliminate the gap or the male athletic

        advantage.5

               Given the “enduring” “[p]hysical differences between men and

        women,” United States v. Virginia, 518 U.S. 515, 533 (1996), female

        athletes will not have the same “chance to be champions” if forced to

        compete against male-bodied athletes. Title IX and its regulations thus

        play a crucial role in leveling the proverbial “playing field” by adopting a

        binary approach to athletics that explicitly contemplates separate teams

        for males and females.

               And this binary approach has worked. It has “chang[ed] society’s view

        of female athletes” by “showcas[ing] their athletic ability and

        competitiveness.” Parker v. Franklin Cnty. Cmty. Sch. Corp., 667 F.3d

        910, 916 (7th Cir. 2012). It has fostered the “realization by many that

        women’s sports [can] be just as exciting, competitive, and lucrative as

        men’s sports.” Neal v. Bd. of Trustees of Cal. State Univs., 198 F.3d 763,

        773 (9th Cir. 1999).




           5Jennifer C. Braceras, FACT CHECK: Can Transgender Athletes
        Eliminate The Male Athletic Advantage By Suppressing Testosterone?,
        Indep. Women’s Forum (Jan. 13, 2022), https://tinyurl.com/yfz4388b.
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               But all that progress risks being unraveled if female-bodied athletes

        must compete against male-bodied athletes. Such a “sex blind” or open-

        sport approach would have “the perverse effect of enabling non-elite boys

        and men to win spots and championships from elite girls and women.”6

               The experience of 12-time All-American and 5-time SEC Champion

        swimmer Riley Gaines confirms these dangers.7 Gaines competed against

        Lia Thomas, a male-bodied athlete who swam on the men’s team at the

        University of Pennsylvania for three years before coming out as

        transgender and competing on the women’s team, skyrocketing to win

        the national championship in the NCAA Division I women’s 500-yard

        freestyle.8 In the 200-yard freestyle, 5’6” Gaines beat the odds to tie 6’4”

        Thomas—down to a hundredth of a second—for 5th place.9 But Riley was




           6 Sex in Sport at 97.

           7 Letter from Riley Gaines, to Gov. Charlie Baker, President, Nat’l

        Collegiate    Athletic   Ass’n   (Jan.    5,   2023),           available   at
        https://tinyurl.com/mv9ez7eu (hereinafter “Letter”).
           8 Id.

           9Beverly Hallberg & Riley Gaines, Riley Gaines: Why Competing
        Against Lia Thomas Isn’t Fair to Female Swimmers, Indep. Women’s
        Forum (Apr. 22, 2022), https://tinyurl.com/yf7m8wfr.
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        told that Thomas would receive the 5th place trophy at the award

        ceremony for “photo purposes.”10

            Riley was not the only female swimmer to be deprived of the honors

        she earned that day. Other women lost opportunities to compete and

        receive medals, including 5th-year senior and former finalist Reka

        Gyorgy, who placed 17th and thus lost a final spot to Thomas, and 9th-

        place finisher Tylor Mathieu who was likewise excluded from the final

        and thus prevented from becoming an All-American.11 As Gyorgy

        explained, every event a male-bodied athlete competed in “was one spot

        taken away from biological females.”12

            Even putting aside championships—although Title IX requires that

        girls have equal access to these, too, see McCormick, 370 F.3d at 294–

        95—a decision to allow any male-bodied athlete to join a girls’ or women’s

        team would obviously take away playing time and resources that would

        otherwise be devoted to female players.13 Female “athletic ability” and



           10 Letter, supra note 7.

           11 Kaylee McGee White, The Women Who Lost to Lia Thomas, Indep.

        Women’s Forum (Mar. 21, 2022), https://tinyurl.com/3v26a2ry.
           12 Id.

           13 See Sex in Sport at 97–98 & nn.173–76.


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        “competitiveness” would be showcased no longer, undermining the

        decades of progress Title IX has achieved. Parker, 667 F.3d at 916.

        Maintaining single-sex teams is thus vital to preserving opportunities for

        women and girls to excel.

        II.   Interpreting Title IX To Prohibit Discrimination In
              Athletics on the Basis of Gender Identity Contradicts the
              Express Language of the Statute and Regulations and
              Inevitably Harms Female Athletes.

              Title IX prohibits discrimination “on the basis of” a single

        characteristic: “sex.” To imbue Title IX with extratextual “sex blind”

        requirements based on “gender,” “gender identity,” or any other trait not

        mentioned in the statute would collapse the regulatory scheme in on

        itself. After all, Title IX was created in response to pervasive

        discrimination against biological females—not as scaffold-legislation for

        new gender identity constructs.

              A.   Title IX Is Premised on a Binary Concept of Biological
                   Sex.

              Title IX and its accompanying regulations adopt a biological and

        binary definition of sex. See 20 U.S.C. § 1681(a); Sex in Sport at 69 n.29.

        Indeed, immediately after prohibiting discrimination on the basis of

        “sex,” the statute goes on to refer to “both sexes,” 20 U.S.C. § 1681(a)(2),


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        a phrase that would make no sense if the term “sex” were being used to

        describe the range of identifications included within the concept of gender

        identity.

              The statute likewise refers to “Men’s” and “Women’s” organizations,

        “the membership of which has traditionally been limited to persons of one

        sex,” 20 U.S.C. § 1681(a)(6)(B), and requires that, if opportunities “are

        provided for students of one sex, opportunities for reasonably comparable

        activities shall be provided for students of the other sex,” id. § 1681(a)(8)

        (emphasis added). The regulations governing sports are in accord. See 34

        C.F.R. § 106.41(c) (requiring institutions to “provide equal athletic

        opportunity for members of both sexes”); see also id. § 106.41(b) (referring

        to members of the “excluded sex,” singular). There can be no question,

        therefore, that a state law requiring that athletic teams sponsored by

        public secondary schools or state institutions of higher education be

        expressly designated as either male, female or coed, based on biological

        sex, is in compliance with the Title IX, so long as equal athletic

        opportunities are available to those athletes affected by the law. See

        W. Va. Code § 18-2-25d(c)(1).




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              As shown below, applicable precedent does not hold otherwise. Both

        the Supreme Court’s decision in Bostock and this Court’s decision in

        Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586 (4th Cir. 2020) are

        inapposite.

              B.      Although Bostock Did Not Address the Question
                      Presented Here, It Reinforces Title IX’s Binary
                      Concept of Sex.

              Bostock raised the question whether discrimination based on

        transgender status constituted discrimination on the basis of sex as that

        term is used in Title VII. Bostock, 140 S. Ct. at 1737. But this case

        concerns a different question: whether designating a student’s

        participation on a sports team based on biological sex necessarily entails

        discrimination based on transgender status. Those are not the same

        issues. The law excludes B.P.J. from the girls’ cross-country and track

        teams not because B.P.J. is transgender but because B.P.J. is a male-

        bodied athlete.

              In addition, the Court in Bostock did not define sex to mean

        anything other than biological sex at birth. To the contrary, it proceeded

        on the assumption that the term “refer[s] only to biological distinctions

        between male and female.” 140 S. Ct. at 1739; see also id. at 1746–47


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        (“agree[ing] that homosexuality and transgender status are distinct

        concepts from sex”).

              The Court reasoned, however, that because discrimination against

        a trans-identified employee requires awareness of the employee’s sex at

        birth (in comparison to that employee’s gender identity or mode of gender

        expression at work), discrimination against that employee is sex

        discrimination prohibited by Title VII. Id. at 1741 (employer violates

        statute when it “intentionally penalizes a person identified as male at

        birth for traits or actions that it tolerates in an employee identified as

        female at birth”). The Court explained that an employer who fires a

        person for being trans-identified does so “for traits or actions it would not

        have questioned in members of a different sex.” Id. at 1737. The Court

        thus understood the trans-identified employee as belonging to “a

        different sex” than the one with which the employee identified. Id. Under

        Bostock, sex and gender identity simply are not equivalent.

              The Supreme Court’s analysis in Bostock is, in any event,

        inapplicable in this case, because it dealt with an entirely different

        statute. Bostock interpreted Title VII, which governs discrimination in

        the workplace and establishes that “[a]n individual employee’s sex is not


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        relevant to the selection, evaluation, or compensation of employees.” 140

        S. Ct. at 1741 (internal quotation marks and citation omitted). The Court

        here is asked to interpret Title IX, which governs discrimination in

        educational programming, including athletics. And when it comes to

        athletics, sex is relevant. In fact, it is often dispositive. Title IX, therefore,

        does not require a sex-blind environment. To the contrary, and as

        explained above, both Title IX and its regulations explicitly refer to sex

        in a binary way. Title IX’s athletic regulations contemplate that schools

        will offer—and need to offer—separate sex-based teams in order to

        comply with the requirement that they provide equal athletic

        opportunities for both sexes. See 34 C.F.R. § 106.41(b)–(c). Precisely

        because of the biological differences that warrant different treatment of

        women and men, Title IX’s regulations permit men and women to be

        treated differently.

              The significant differences between Title VII and Title IX mean

        that, when it comes to athletic opportunities, differentiating between the

        two sexes is not prohibited discrimination. As the Supreme Court has

        held, “[d]iscrimination” in the legal sense involves treating “similarly

        situated” people differently. Bostock, 140 S. Ct. at 1740. As Title IX


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        recognizes, however, different treatment of the sexes is warranted when

        it comes to athletics because the two sexes are not similarly situated.

        Bostock’s conclusion that employment discrimination against a trans-

        identified person “necessarily entails discrimination based on sex” under

        Title VII, id. at 1747, is inapplicable to the athletics governed by Title IX,

        where males and females are not similarly situated. See Kleczek v. R. I.

        Interscholastic League, Inc., 612 A.2d 734, 738 (R.I. 1992) (“Because of

        innate physiological differences, boys and girls are not similarly situated

        as they enter athletic competition.”); cf. Bauer v. Lynch, 812 F.3d 340,

        350 (4th Cir. 2016) (“Men and women simply are not physiologically the

        same for the purposes of physical fitness programs”). Indeed, if the Sports

        Act’s providing for single-sex sports teams constitutes unlawful sex

        discrimination, then Title IX’s regulations are equally discriminatory.

              C.   Grimm’s Holding Does Not Apply to This Case.

              This Court’s decision in Grimm does not change the analysis.

        Grimm relied on Bostock’s reasoning that discrimination on the basis of

        transgender status necessarily includes discrimination on the basis of

        sex. Grimm, 972 F.3d at 616. But, like Bostock, Grimm did not face the

        converse question of whether designating sports teams based on


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        biological sex constitutes discrimination on the basis of transgender

        status. Furthermore, this Court recognized in Grimm that “[i]n the Title

        IX context, discrimination means treating [an] individual worse than

        others who are similarly situated.” Id. at 618 (cleaned up). As this Court

        has long recognized, in the context of athletics, biological men and

        biological women “simply are not physiologically the same,” and thus are

        not similarly situated, Bauer, 812 F.3d 340, 350 (4th Cir. 2016),

        rendering Grimm inapplicable to the question of sports.

              The Grimm court also noted the possibility—but did not decide—

        that Bostock’s Title VII theory of sex-stereotyping could be imported into

        Title IX in the context of public-school restrooms. Grimm, 972 F.3d at 617

        n.15. Regardless of the merits of the sex-stereotyping theory for that

        question, it does not apply in the context of athletics.

              To the contrary, the Supreme Court has explained that Title VII

        forbids sex stereotyping because it is an “irrational impediment[] to job

        opportunities.” City of L.A., Dep’t of Water & Power v. Manhart, 435 U.S.

        702, 707 n.13 (1978). Thus, “employment decisions cannot be predicated

        on mere ‘stereotyped’ impressions about the characteristics of males or

        females,” because those stereotypes are “fictional difference[s]” irrelevant


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        to work. Id. at 707; see also Price Waterhouse v. Hopkins, 490 U.S. 228,

        251 (1989) (“[W]e are beyond the day when an employer could evaluate

        employees by assuming or insisting that they matched the stereotype

        associated with their group.”), superseded by statute, Civil Rights Act of

        1991, Pub. L. No. 102-166, § 107(a), 105 Stat. 1071 (codified at 42 U.S.C.

        § 2000e–2(m) (2012)).

              On the other hand, the biological differences between men and

        women that undergird Title IX’s athletic regulations are neither

        “fictional”     nor   “irrational.”     See     Competition    17–31     (describing

        physiological differences in males and females and summarizing the

        scientific literature on the male athletic advantage). Ensuring that

        single-sex teams exist for women, as the Sports Act does, is not sex

        stereotyping. It is a recognition of science and an attempt to implement

        Title IX, the goal of which was to increase opportunities for females.14




           14 In that regard, the success of Title IX and its athletic regulations

        cannot be overstated. Prior to the passage of Title IX, only one in 27 high
        school girls participated in organized sports. By 2018, three in five
        participated. See Women’s Sports Found., 50 Years of Title IX (2022),
        https://tinyurl.com/wccu4865. Only 31,852 women played college sports
        during the 1971-72 school year. During the 2019-20 school year, the
        number of female college athletes reached 221,212. Competition at 6.
                                                   19
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        III. Appellants’    Proposed      Disposition Would  Take
             Opportunities Away from Women and Girls and Threaten
             the Very Existence of Single-Sex Sports.

              As explained above, Bostock does not apply to athletics under Title

        IX because male and female athletes are not similarly situated. Any

        decision to reverse the district court and apply Bostock’s analysis to

        athletics will have far-reaching implications and jeopardize Title IX’s

        purpose: providing equal opportunities in athletics for female athletes.

              A.   Applying Bostock’s But-For Test to Athletics Would
                   Open Up Women’s Sports to All Males, Not Just Those
                   Who Identify as Women.

              In Bostock, the Supreme Court held that an employment decision

        that would have been made differently “but for” an employee’s biological

        sex discriminates in violation of Title VII. 140 S. Ct. at 1742. Applying

        that test to athletics under Title IX would call into question not just

        individual coaching decisions about particular players, but the existence

        of single-sex teams altogether. That is because a coach who decides that

        an otherwise qualified male athlete cannot play on a women’s team is

        clearly making a decision that would have been different “but for” the

        student’s sex, which Bostock forbids.




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              Suppose, for example, that a male student who is cut from the men’s

        lacrosse team then tries out for the women’s team and demonstrates that

        he is a better player than any of the female students. The application of

        Bostock to Title IX would forbid a coach from denying a roster spot to the

        athletically superior male player simply because he is male, all at the

        expense of the very biological girls and women Title IX is designed to

        protect.

              This scenario has already occurred in sports such as field hockey,

        where schools tend not to offer men’s teams. Schools initially created

        many of these programs to increase opportunities for female athletes, so

        as to comply with Title IX.15 But now some of those same teams have been

        forced to include males. In Massachusetts, for example, schools have been

        obligated to allow boys to participate on girls’ field hockey teams if the

        schools do not offer a corresponding team for boys. Allowing males to

        compete on those teams has raised alarm among parents, officials, and

        coaches alike, not to mention the female players who have been injured



           15 See Tom Daykin, This Milwaukee hockey facility doesn’t need ice -

        just girl power, Milwaukee J. Sentinel (Feb. 7, 2017),
        https://tinyurl.com/yta9dcyp (explaining that “[s]everal universities
        added field hockey as a women’s sport after Title IX”).
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        or reported feeling “scared” when forced to compete against physically

        larger and stronger male athletes.16 In the 2010 Western Massachusetts

        Division I title game, for example, a male player scored the winning goal

        “on a late breakaway, colliding at full speed” with the female goaltender,

        who experienced a concussion on the play and suffered from severe

        headaches for about six months thereafter.17 The problems caused by

        males playing on girls’ teams were so acute that last year the

        Massachusetts Interscholastic Athletic Council ratified a vote to approve

        Boys High School Field Hockey, although schools will still have to field

        mixed-sex teams if they do not have teams for each sex.18


           16 Rick Reilly, Not Your Average Skirt Chaser, Sports Illustrated (Nov.

        26, 2001), https://tinyurl.com/2p97z75v (quoting one female field hockey
        player as stating, after playing against a male, 220-pound former football
        lineman: “I was scared . . . . I don’t think he has a right to come into our
        game and make us scared.”); see Tom Fargo, Coalition takes field hockey
        concerns to State House, Bos. Herald (Jan. 23, 2020) (describing coalition
        of parents, coaches, and officials seeking to change rules governing boys’
        participation in girls’ field hockey), https://tinyurl.com/nhht2ct6; see also
        Williams v. Sch. Dist. of Bethlehem, 998 F.2d 168, 169–70, 176–77 (3d
        Cir. 1993) (remanding for fact-finding on Title IX, Equal Protection, and
        Pennsylvania Equal Rights Amendment challenges to school’s attempt to
        bar male plaintiff from playing on girls’ field hockey team).
           17Mike Cullity, Equal Rights vs. Title IX, ESPN (June 15, 2012),
        https://tinyurl.com/25wemr4p.
           18 USA Field Hockey, Massachusetts Interscholastic Athletic
        Association Sanctions Boys High School Field Hockey, TeamUSA.org

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                As explained above, neither Title IX nor the Equal Protection clause

        require the dismantling of single-sex teams. Yet a growing number of

        women’s sports abolitionists seek to accomplish just that. Opponents of

        single-sex sports argue that separate men’s and women’s athletic teams

        constitute a form of segregation that damages women and girls.19

        Women’s sports abolitionists believe that allowing males and females to

        compete in separate divisions reinforces pernicious stereotypes about

        male and female abilities and perpetuates the presumption that sex is

        binary.20 For these activists, the inclusion of transgender athletes on


        (June 1, 2021), https://tinyurl.com/ycktrxec. Girls’ swim teams have
        similarly been required to include male athletes, one of whom broke a
        female record that had previously stood for decades. See Zuri Berry, In
        Massachusetts, Boys Playing on Girls Teams Causes a Ruckus, MaxPreps
        (Jan. 10, 2012) (quoting holder of girls’ record broken by boy as stating:
        “I have held the south sectional 50 freestyle record for 26 years. That is
        a very long time. It’s time that that record be broken. But broken by a
        talented swimmer who is a girl.”), https://tinyurl.com/bdftw3m8.
           19See, e.g., Elizabeth Sharrow, Five States Ban Transgender Girls
        From Girls’ School Sports. But Segregating Sports By Sex Hurts All Girls,
        Wash. Post (Apr. 16, 2021) (arguing that single-sex teams reinforce
        gender stereotypes and arguing in favor of open-sport),
        https://tinyurl.com/2p9y723b.
           20 See, e.g., Robin Ryle, Opinion, The Case of Transgender Athletes.

        Why Sports Aren’t Fair and That’s OK, Newsweek (Feb. 17, 2021),
        https://tinyurl.com/3u7cmrzr (asserting that “sports remain one of the
        last strongholds for the cult of gender differences” and suggesting that
        sex is not a meaningful category when it comes to competitive sport);

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        single-sex teams is not an end in itself; rather, it is a vehicle for getting

        rid of single-sex sports in their entirety. Applying Bostock’s but-for test

        to sports will help them achieve this radical objective.

              B.   A Ruling for Appellants Will Impose Conflicting Legal
                   Obligations on Athletic Associations and Schools.

              In short, the district court’s interpretation of Title IX allows

        educational institutions that receive federal funding to provide equal

        athletic opportunities to both sexes, even if athletic distinctions are sex-

        based. Reversing that ruling would prevent such institutions from

        making any sex-based distinctions at all, regardless of whether such

        distinctions are relevant to important educational interests. Under

        Appellants’ proposed interpretation, schools will be required to allow

        athletes who were born male to compete on women’s teams without

        restriction or exception. And yet, Title IX and its athletic regulations still

        require that schools provide equal athletic opportunities for “both sexes.”

        34 C.F.R. § 106.41 (c). How can schools with limited budgets, roster spots,

        and scholarship money possibly satisfy both obligations? They cannot.




        Nancy Leong, Against Women’s Sports, 95 Wash. U. L. Rev. 1251, 1251
        (2018).
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               Nor can the Department of Education enforce Title IX in a way that

        both ensures equal athletic opportunity for biological females and the

        inclusion of trans-identified, male-bodied athletes. For example, the

        Department’s Office for Civil Rights opened an investigation into

        whether Connecticut’s policy allowing male-bodied athletes to participate

        in women’s track discriminates against female athletes.21 Title IX cannot

        both    require    that   athletic     associations      provide   equal   athletic

        opportunities for biological males and females and prohibit athletic

        associations from excluding male-bodied athletes from female teams and

        competitions. The statute can do one or the other, not both.

               C.   A Ruling for Appellants Would Eradicate the
                    Constitutional Basis for Title IX’s Single-Sex Teams.

               Equating “sex” with “gender identity” under Title IX’s athletic

        regulations threatens single-sex sports in an additional way. As one

        commenter has noted, “the very constitutional basis for allowing

        differential treatment on the basis of sex (so long as the proper scrutiny

        is applied and satisfied) hinges on there being physical differences




           21 The Associated Press, Civil rights probe opened into transgender

        athlete policy, NBC News (Aug. 9, 2019), https://tinyurl.com/mr2fkxua.
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        between the sexes.”22 Title IX’s provisions separating men’s and women’s

        sports teams are based on those differences and have been repeatedly

        held constitutional because they were designed to “remov[e] the legacy of

        sexual discrimination—including discrimination in the provision of

        extra-curricular offerings such as athletics.” Equity In Athletics, Inc. v.

        Dep’t of Educ., 639 F.3d 91, 104 (4th Cir. 2011) (quoting Kelley v. Bd. of

        Trs., 35 F.3d 265, 272 (7th Cir. 1994)). Because Title IX “directly protects

        the interests of the disproportionately burdened gender, it passes

        constitutional muster.” Kelley, 35 F.3d at 272 (citing Miss. Univ. for

        Women v. Hogan, 458 U.S. 718, 728 (1982)).

                If, however, the Court were to accept the argument that there is no

        difference under Title IX between biological girls and male-bodied, trans-

        identified athletes, that would severely undermine, if not eradicate, the

        constitutional basis for single-sex teams. Under those circumstances, the

        regulatory exception permitting such teams could no longer be justified

        as based upon the “enduring” “[p]hysical differences between men and

        women.” Virginia, 518 U.S. at 533. Nor would the regulations “directly


           22 Caleb R. Trotter, Approaching 50 Years: Title IX’s “Competitive
        Skill” Exception to the Prohibition on Single-Sex Sports, 10 Miss. Sports
        L. Rev. 153, 169 (2021).
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        protect the interests” of girls and women, who will lose playing time,

        resources, and championships to male-bodied counterparts. Yet all of

        that is necessary for Title IX to remain constitutionally justified under

        current precedent.

              The district court’s decision was consistent with that framework

        and serves the public interest in protecting equal athletic opportunity for

        women. A contrary ruling would threaten the progress girls and women

        have taken decades to make under Title IX.

                                     CONCLUSION

              Title IX and its implementing regulations have done a world of good

        for females seeking athletic opportunities on par with those offered to

        males. Nothing in the text of those provisions or applicable precedent

        requires that those opportunities be offered on a sex-blind basis, to the

        detriment of the girls and women whom the statute was designed to

        advance. The district court correctly held that the law “furthers, not

        violates, Title IX,” and that the law “is substantially related to the

        important government interest of providing equal athletic opportunities

        for females.” B.P.J. v. W. Va. State Bd. of Educ., No. 2:21-cv-00316, 2023

        WL 111875, at *8, *9 (S.D. W.Va. 2023). Reversal would be error, and it


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        would also disregard the public interest in single-sex sports and the harm

        done by enjoining application of the Sports Act.

              This Court should dissolve the injunction and affirm the decision of

        the district court.

        Dated: May 3, 2023                   Respectfully submitted,
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                          CERTIFICATE OF COMPLIANCE

              I hereby certify that this amicus brief complies with the type-

        volume limits of Fed. R. App. P. 29(a)(5) because it contains 5,353 words,

        excluding the portions exempted by Fed. R. App. 32(f). The brief’s

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        Dated: May 3, 2023

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